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                                                                                         E-FILED
                                                         Thursday, 24 February, 2022 11:57:51 PM
                                                                    Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                          SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )      CASE NO: 18-CR-30025-SEM-TSH
                                       )
ABDUL ALSAMAH,                         )
                                       )
      Defendant.                       )

     UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

   NOW COMES the Defendant, Abdul Alsamah, by his attorney, William L. Vig,

and for his Unopposed Motion to Continue Sentencing Hearing, states as follows:

   1. This case is currently set for a sentencing hearing Friday, March 4, 2022.

   2. The undersigned counsel needs additional time to communicate with the

      United States Probation Officer and the Government concerning objections to

      the Initial Presentence Investigation Report and prepare his sentencing

      commentaries.

   3. The United States Government, by Assistant United States Attorney

      Timothy Bass, has no objection to this motion to continue.

   4. This request is made in the interest of fairness and justice and not for the

      purpose of any unreasonable or undue delay.

   5. Because the undersigned anticipates commencing a relatively lengthy trial in

      another matter pending before this Court on March 23, 2022, the
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      undersigned seeks a continuance of this sentencing hearing for not less than

      60 days.

   6. In addition, the Defendant would prefer to be sentenced in person, and the

      undersigned is hopeful that an in person sentencing hearing can safely be

      conducted without pandemic-related restrictions (or at least with fewer such

      restrictions) in May 2022.

   WHEREFORE, the Defendant respectfully requests this Honorable Court

continue the previously scheduled sentencing hearing for not less than 60 days, and

grant any other such and further relief as this Court deems reasonable and just.



                                         Respectfully submitted,

                                         Abdul Alsamah, Defendant


                                   By:   /s/ William L. Vig
                                         Attorney for Defendant




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to the following:


       Assistant U.S. Attorney Timothy Bass           tim.bass@usdoj.gov




                                        /s/ William L. Vig
                                        Attorney for Defendant
